             Case 3:16-bk-02230-PMG               Doc 1018         Filed 05/14/18        Page 1 of 2



                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

In re:
                                                                   Case No.: 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,
                                                                   Chapter 11
                   1
      Debtors.
________________________________/                                  (Jointly Administered)

         CERTIFICATE OF NECESSITY OF REQUEST FOR EMERGENCY HEARING

        I HEREBY CERTIFY, as a member of the Bar of the Court, that I have carefully examined
the matter under consideration and to the best of my knowledge, information and belief formed after
reasonable inquiry, all allegations are well grounded in fact and all contentions are warranted by
existing law or a good faith argument for the extension, modification, or reversal of existing law can
be made, that the matter under consideration is not interposed for any improper purpose, such as to
harass, to cause delay, or to increase the cost of litigation, and there is just cause to request a
consideration of the following pleading on an emergency basis:

          EMERGENCY APPLICATION FOR APPROVAL OF EMPLOYMENT
             OF ROBERT PAUL CHARBONNEAU AND THE LAW FIRM
      OF AGENTIS PLLC AS SPECIAL LITIGATION COUNSEL TO THE OFFICIAL
    COMMITTEE OF EQUITY SECURITY HOLDERS NUNC PRO TUNC TO MAY 2, 2018

       I CERTIFY FURTHER that there is a true necessity for an emergency hearing, specifically
because, among other reasons, the retention of Agentis Law on an emergency basis is necessary
because the Equity Committee is seeking to employ and retain Agentis Law to pursue claims for
which the statutes of limitations may expire as early as June 14, 2018. My Certificate of Necessity
of Request for Emergency Hearing (Doc. 1016) filed on May 11, 2018, in connection with the
Emergency Motion of the Official Committee of Equity Security Holders for Entry of an Order
Granting Derivative Standing and Authority to Prosecute and Settle Certain Claims on Behalf of the
Debtors' Estates (Doc. 1015) is incorporated herein.

       I CERTIFY FURTHER that the necessity of this emergency hearing has not been caused by
a lack of due diligence on my part, but has been brought about only by circumstances beyond my
control or that of my client. I further certify that this motion is filed with full understanding of
F.R.B.P. 9011 and the consequences of noncompliance with same.



1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number
include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management, LLC (3101);
Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075); Premier Exhibitions
NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309) (collectively, the
"Debtors"). The Debtors' service address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.


45206404;1
             Case 3:16-bk-02230-PMG   Doc 1018   Filed 05/14/18   Page 2 of 2



Dated: May 14, 2018                          /s/ Jacob A. Brown
                                             (Signature)

                                             Jacob A. Brown
                                             (Typed Name)

                                             (904) 598-8630
                                             (Telephone Number)




45206404;1
